                           UNITED STATES DISTRICT COURT
                           MIDDLE DISTRICT OF TENNESSEE
                                NASHVILLE DIVISION

UNITED STATES OF AMERICA                       )
                                               )
v.                                             )      NO. 3:15-00075
                                               )      JUDGE CAMPBELL
GEORGE IVORY                                   )

                                         ORDER

      The hearing for Defendant George Ivory scheduled for April 22, 2016, at 3:00 p.m. is

RESCHEDULED for April 25, 2016, at 9:00 a.m.

      It is so ORDERED.

                                               ____________________________________
                                               TODD J. CAMPBELL
                                               UNITED STATES DISTRICT JUDGE




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